Case 2:18-cv-OOlO4-|\/|AK Document 1 Filed 01/10/18 Page 1 of 11
944 ‘R““°G/”> CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re lace nor supplement the filing and Service of pleadings or other papers as required by law, except as
provided by local rules of eourt. This form, approved by the Judicial Con erenee ofthe United States in Septcmber 1974, is required for the use of the Clerk ofCourt for the
purpose of initiating the civil docket sheet. /SEE lNSTRUCTIONS .ON NEXTPAGE OF TH[S FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
JULlO DiAZ ClTY OF PHILADELPHIA
(b) County of Residence of First Listed Piaintiff Phlladelphia County ofResidence of First Listed Defendant Phil&delphia
(EXCEPT]N U.S. FLA]NT]FF CASES) ([N U.S. PL/I[NT]F}'iC/{SES ()/V[,Y)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION Ol"
THE TRACT OF LAND l'NVOLVED.

(C) Athm€ys (Fi)'m Name, Add)'ess, and Teleph(me Number) A'fmeCyS ([/`KHUWH)

Pierre LaTour, Esquire. 1515 Market Street, Ste. 1210, Philade|phia, PA
19102 (215) 732-0460

 

 

[I. BASIS OF JURISD!CTION (Place mr "X" in One Box Onl_y) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Br)x_/br Plaz`)zlr`[}"
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(vpecrfy) Transfer Direct File
Cite the U.S, Civil Statut€ under Which you are filing (Dl) not cite jurisdictional statutes unless diversity)i

Section 1983

Brief description of eause:

Section 1983

 

VI. CAUSE OF ACTION

 

 

 

    

 

VII. REQUESTED IN CI CHECK IF rHis{isvx*CLA,SS ACTION DEMAND $ CHECK YES only if demanded in ddmplaidfr
CoMPLAINT: UNDER RULE/dx F.R.CV.P. JuRY DEMAND; m YCS mo
vm. RELATED CASE(S) _ _
IF ANY (See mm"o'is)" JUDGE;/ DoCKET Nr)MBER
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1/8/2018 `
FOR OFFICE USE ONLY

 

RF.CEIPT # AMOUNT APPLYING lFP JUDGE MAG, JUDGE

n 1 Filed 01/10/18 Pa e 2 of 11
CaSe 2 18 CV 00104 ii/lLiAl"|§EDD SQIQAHUI]§€S lBISTRICT COURT g

F()R THE EAS FERN DISTRICT OF PENNSYLVANIA DESIGNATION F()RM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Add\‘€$$df`*“ldi"dffr 8301 State Road, Philadelphia, PA 19136
Addi-@SSO¢~D€{endam; 1515 Arch Street, 14th Floor, Philadelphia, PA 19102

 

Placc ot`Accident. lncident or Transaction:

 

(Use Reverse Side Fo)' Aa'ditio)zal .S'pac'c)

 

Does this civil action involve a nongovernmental corporate pai'ty With any parent corporation and any publicly held corporation owning 10% or more ofits stock?

 

(Attaeh two copies otthe Disclosure Statement Fonn in accordance with Fed. R. Civ. P 7 l(a)) Yesl:l Nokj
Does this case involve multidistrict litigation possibilities'? YesU blow
RELA TED CAS];`, ]FANY:

Case Number: ludge Date Terminated:

 

 

Civil cases are deemed related When yes is answered to any otthe following questions;

l. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court‘.’
Yesl:l Noig

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action in this court?

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Yesl:l N<)E
3, Does this case involve the validity 01 intiingcinent ofa patent alieady in suit 01 any eailiei numbered case pending 01 within one yeai pieviously

terminated action iii this couit? Yesl:l No

4. ls this case a second 01‘ successive habeas coi'pus, social security appeal, or pro se civil rights case filed by the same individual‘?

 

chl:l No`B1
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A. Feder'al Quest[o/z Cases: B. Divr’/‘sily.]irr‘isdiction Casas:
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4. 111 Antitrust 4. 13 Mai'inc Personal Injury
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7. 13 Civil Rights 7. 13 Pi'oducts Liability
8. Cl Habeas Corpus 8. 13 Pi'oducts Liability Asbestos
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101 El Social Security Revicw Cases (_Pleasc specify)

 

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All other Fedei'al Question Cases
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l counsel oi`rccord do hereby ccrtity:
gl’uisuant to Local Civil Rule 53. 7 Section 3(c)(2).t11attothe best oi` my knowledge and belief the damages iecoverable m this civil action case exceed the sum 01
5150 000 00 exclusive ofinteiest and costs; f 1

 

U Relief other than monetary damages is sought

 

 

DATE; 1/8/2018 v 82429
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NOTE: A trial de ii(ovo`Will be a trial by _iuiy only ifthere has been compliance with F.R.C.P. 38.

/ ,
1 certify that, to my knowledge, the within case is not related to any case nu‘iii pending or within one yeai previously terminated action in this court
except as noted above ‘

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ClV. 609 (5/’2012)

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Attorney-at-Law Attoi'iiey l.D.i',i

 

 

Case 2:18-cv-00104-|\/|AK Document 1 Filed 01/10/18 Page 3 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

JULIO DIAZ : ClVlL ACTION

v.
CITY OF PHILADELPHIA and

CORI ZON HEALTH , INC . :
T/A PRISON HEALTH SERVICES , INC .
ln accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case l\/lanagernent Track Designation Forrn in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managemcnt Track Designation Form specifying the track
to which that defendant believes the case should be assigned

NO.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus _ Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration » Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special l\/Ianagement - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special

 

 

management cases.) ( )
(f) Standard Management _ Cases that do not fall into any one of the other tracks ( X)
1/8/2018 Pierre LaTOur Julio Diaz
Date Attorney-at-law Attorney for
(215) 732-0460 (215) 563~7587 pierre@phillybestdefense.Com
T_elephone FAX Number E~Mail Address

(Civ. 660) 10/02

Case 2:18-cv-OOlO4-|\/|AK Document 1 Filed 01/10/18 Page 4 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JULIO DIAZ
8301 State Road
Philadelphia, PA 19136

Plaintiff

v. : DOCKET N().

CITY OF PHILADELPHIA
1515 Arch Street, 14th Floor
Philadelphia, PA 19102

BRUCE HERDMAN, C.M.O.
PHILADELPHIA PRISON SYSTEMS
C/O CITY LAW DEPARTMENT
1515 Arch Street

Philadelphia, PA 19102

and,

JoHN DoEs 1-2, CoRRECTIoNs
EMPLoYEEs

C/o cITY LAW DEPARTMENT
1515 Arch street, 14th Floor
Philadelphia, PA 19102

and,

CORIZON HEALTH, INC., T/A
PRISON HEALTH SERVICES, INC.
7901 State Road

Philadelphia, PA 19136

and,

JOHN DOES 3-4, MEDICAL

PERSONNEL

7901 State Road

Philadelphia, PA 19136
Defendants

 

Case 2:18-cv-00104-|\/|AK Document 1 Filed 01/10/18 Page 5 of 11

COMPLAINT

. This is a civil action seeking damages against Defendants for committing acts, under
color of law, which deprived Plaintiff of rights secured by the Eighth and Fourteenth
Amendments to the Constitution and the laws of the United States and the
Commonwealth of Pennsylvania; for conspiring for the purpose of impeding and
hindering the due course of justice, with intent to harm Plaintiff; and for refusing or
neglecting to prevent such deprivations and denials to Plaintiff.

. The Court hasjurisdiction of this action under 42 U.S.C. § 1983, 1988 and 28 U.S.C. §§
1331,1343 and 1367.

. Plaintiff, Julio Diaz, is a citizen and resident of Philadelphia, Pennsylvania and the
United States of America.

. Defendant, City of Philadelphia, is a municipality and agent of the Cornmonwealth of
Pennsylvania Defendant City of Philadelphia manages and oversees the Philadelphia
Prison System.

. Defendant, Bruce Herdman, is the Chief of l\/ledical Operations of the Philadelphia Prison
System.

. Defendants, John Does l-2, are employed by the Philadelphia Prison Systern as
correction officers and/or social workers

. Defendant, Corizon Health, lnc., t/a Prison Health Services, lnc., is a corporation
contracted by the City of Philadelphia to provide medical services to inmates housed in

the Philadelphia Prison System.

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Case 2:18-cv-00104-|\/|AK Document 1 Filed 01/10/18 Page 6 of 11

Defendants, John Does 3-4, are employed by Defendant, Prison Health Services, lnc., as
nurses, doctors and/or medical providers

Plaintiff sues each and all Defendants in their individual and official capacities

At all times material to this Complaint, Defendants, Herdman and John Does, acted under
color of law and under the color of the statutes, customs, ordinances and usage of the
State of Pennsylvania, City of Philadelphia, Philadelphia Police Department and the
Philadelphia Prison System.

At all times relevant, Defendants acted jointly and in concert with each other. Each
individual Defendant had the duty and opportunity to protect the Plaintiff from unlawful
actions of the other Defendants but each Defendant failed and refused to perform such
duty, thereby proximately causing Plaintiffs injury.

At all times relevant, Defendant Herdman, corrections officers and John Does, were
employed in their duties as corrections employees for the City of Philadelphia

At all times relevant hereto, Defendant City of Philadelphia was acting through its agents,
servants and employees, who were acting within the scope of their authority, course of
employment and under the direct control of the Defendant City.

ln January of 2016, Plaintiff was housed in the Philadelphia Prison System at PICC.

On or about January 12, 2016, Plaintiff complained of pain, swelling and inflammation in
his right leg to Defendant John Doe #1 and requested that he be taken to the infirmary.
Plaintiff was seen in the infirmary on January 12, 2016 and examined by Defendant John
Doe #3, a nurse at the infirmary.

John Doe #3 diagnosed Plaintiff with an abscess in his right leg, proscribed him l\/lotrin

for the pain, and returned him to his cell.

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Between January 12, 2016 and January 17, 2016, Plaintiff continued to experience severe
pain and swelling in his right leg.

Between January 12, 2016 and January 17, 2016, Plaintiff reported symptoms of pain in
his lower right leg to corrections officers and medical personnel employed by
Defendants, City of Philadelphia and Corizon.

Despite multiple complaints, which later included symptoms of severe pain, redness, and
swelling, Defendants City, Corizon, and John Does failed to take any action to treat
Plaintiff` s symptoms

On or about January 17, 2016, Plaintiff s pain became so severe that he was unable to
walk. At this time Defendants finally sent him to the infirmary.

While at the infirmary on January 17, 2016, Plaintiff was not examined by a physician
Plaintiff was informed a physician would examine him the following day, January 18,
2016.

Plaintiff was not examined by a physician until January 19, 2016.

On January 19, 2016, Plaintiff was referred to the emergency department of Aria
Torresdale Hospital with complaints of severe pain in his right leg.

At Aria Torresdale Hospital, Plaintiff was diagnosed with right lower extremity
abscesses, cellulitis, swelling and erythema

The doctors at Aria Frankford performed an emergency incision and drainage of
Plaintiff`s right lower leg.

Plaintiff was treated with antibiotic medicines and pain medication.

On January 22, 2016_, Plaintiff was discharged and instructed to take medications

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Case 2:18-cv-00104-|\/|AK Document 1 Filed 01/10/18 Page 8 of 11

Since January 2016, Plaintiff has had to participate in ongoing physical therapy for his
leg as a result of the maltreatment.

Since January 2016, Plaintiff has had to take different medications to treat the symptoms
resulting and stemming from his cellulitis and abscesses.

Plaintiff continues to suffer post surgery symptoms that include, but are not limited to,
pain in his right leg, difficulty walking and permanent scarring.

Defendant’s collective failure to provide adequate medical care to Plaintiff when he first
complained of leg pain in January 2016, caused Plaintiff’s symptoms to worsen, become
irreversible and required Plaintiff to undergo painful medical procedures

Had Defendants timely treated Plaintiff"s symptoms and had him seen by a qualified

physician, he would not have had to undergo any medical procedures on his right leg.

COUNT I
8"‘ AMENDMENT DENIAL OF MEDICAL CARE AGAINST DEFENDANT
JOHN DOE NURSES
Plaintiff incorporates by reference paragraphs 1 through 33 of this Complaint as though
same were fully set forth at length herein.
The failure of Defendant John Doe Nurses to provide medical care to Plaintiff constitutes
deliberate indifference to the Plaintiff’s serious medical needs in violation of the Eighth
Amendment’s prohibition against cruel and unusual punishments
COUNT II
8“‘ AMENDMENT DENIAL oF MEDICAL CARE AGAINsT DEFENDANT
JONH DOE DOCTORS

Plaintiff incorporates by reference paragraphs 1 through 35 of this Complaint as though

same were fully set forth at length herein.

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The failure of Defendant, John Doe Doctors, to provide medical care to Plaintiff
constitutes deliberate indifference to the Plaintiff’s serious medical needs in violation of
the Eighth Amendment’s prohibition of cruel and unusual punishments
COUNT III
STH AMENDMENT DENIAL OF MEDICAL CARE AGAINST DEFENDANT
CORIZON HEALTH, INC., T/A PRISON HEALTHCARE SERVICES, INC.
Plaintiff incorporates by reference paragraphs l through 37 of this Cornplaint as though
same were fully set forth at length herein.
The failure of Defendant, Corizon Health, lnc., T/A Prison Health Services, lnc., to
provide medical care to Plaintiff constitutes deliberate indifference to the Plaintiffs
serious medical needs in violation of the Eighth Amendment’s prohibition of cruel and
unusual punishments
COUNT IV
sm AMENDMENT DENIAL or MEDICAL CARE AGAINsT DEFENDANT
CITY OF PHILADELPHIA
Plaintiff incorporates by reference paragraphs 1 through 39 of this Complaint as though
same were fully set forth at length herein.
The failure of Defendant, City of Philadelphia, to provide medical care to Plaintiff
constitutes deliberate indifference to the Plaintiff’s serious medical needs in violation of
the Eighth Amendment’s prohibition of cruel and unusual punishments
COUNT V
MEDICAL NEGLIGENCE CLAI§/£Ji;($}EASINST DEFENDANTS JOHN DOE

Plaintiff incorporates by reference paragraphs 1 through 41 of this Complaint as though

same were fully set forth at length herein.

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43. Defendants John Doe Nurses, through their actions as described above, were negligent in

treating Plaintiff s medical needs

COUNT VI

MEDICAL NEGLIGENCE CLAIM AGAINST DEFENDANTS JOHN DOE

D()CTORS

44. Plaintiff incorporates by reference paragraphs 1 through 43 of this Complaint as though

same were fully set forth at length herein.

45. Defendants, John Doe Doctors, through their actions as described above, were negligent

in treating Plaintiff" s medical needs

JURY DEMAND

Plaintiff demands trial by a jury of 12.

WHEREFORE, Plaintiff demands judgment against the Defendants and each of them,

jointly and severally, as follows:

3..

Compensatory damages in an amount this Court shall consider to be just,
reasonable and fair;

Damages for pain and suffering;

Punitive damages in an amount the Court shall consider to be just, reasonable and
fair;

Attorney fees and the costs of this aetion; and

Such other relief as this Court shall consider to be fair and equitable

Case 2:18-cv-00104-|\/|AK Document 1 Filed 01/10/18 Page 11 of 11

Date:

 

Respectfully submitted,

   

 

w f

PIERRE LATOUR, ESQUIRE
Attorney for Plaintiff

1515 l\/larket Street, Suite 1210
Philadelphia, PA 19102

(215) 732-0460

 

